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                    UNITED STATES COURT OF APPEALS
                                                                        FILED
                            FOR THE NINTH CIRCUIT
                                                                        JUL 21 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




 FEDERAL TRADE COMMISSION,                        No. 23-15992

                Plaintiff - Appellant,
                                                  D.C. No. 3:23-cv-02880-JSC
   v.                                             U.S. District Court for Northern
                                                  California, San Francisco
 MICROSOFT CORPORATION and
 ACTIVISION BLIZZARD, INC.,                       ORDER

                Defendants - Appellees.



        The Mediation Program of the Ninth Circuit Court of Appeals facilitates

settlement while appeals are pending. See Fed. R. App. P. 33 and Ninth Circuit

Rule 33-1.

        By July 18, 2023, counsel for all parties intending to file briefs in this matter

are requested to inform Robert S. Kaiser, Circuit Mediator, by email at

Robert_Kaiser@ca9.uscourts.gov, of their clients' views on whether the issues on

appeal or the underlying dispute might be amenable to settlement presently or in

the foreseeable future. Counsel are requested to include the Ninth Circuit case

name and number in the subject line. This communication will be kept

confidential, if requested, from the other parties in the case. This communication

should not be filed with the court.
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      For more detailed information about the Mediation Program and its

procedures generally, please see the Mediation Program website:

www.ca9.uscourts.gov/mediation.

      The existing briefing schedule remains in effect.

                                                FOR THE COURT:

                                                Beatriz L. Smith
bls/mediation                                   Deputy Clerk
